                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE


 UNITED STATES OF AMERICA,                        )
                                                  )
                       Plaintiff,                 )
                                                  )
 v.                                               )          No. 3:04-CR-170
                                                  )          (VARLAN/SHIRLEY)
 JOHN L. PENNINGTON,                              )
 also known as “RED,”                             )
 ROY GIBSON, and                                  )
 LARRY LIST,                                      )
                     Defendants.                  )
                                                  )



                            REPORT AND RECOMMENDATION

                All pretrial motions in this case have been referred to the undersigned pursuant to

 28 U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the

 District Court as may be appropriate. This case is before the Court on Defendant Gibson’s

 Motion to Dismiss [Doc. 73], alleging that the indictment violates the statute of limitations. The

 Court has granted [Doc. 99] Defendant List’s request to join in this motion. The parties

 appeared for a motion hearing on February 10, 2005. Assistant United States Attorney Hugh B.

 Ward, Jr., was present representing the government.    Attorney Joe Costner represented

 Defendant Gibson, who was also present. Attorneys Ralph Harwell and Tracy J. Smith were

 present representing Defendant List, who was present. The Court notes that Defendant

 Pennington, who has not joined in this motion, was also present and represented by Attorneys

 Jeffery Daniel and Richard Gaines. At the conclusion of the hearing, the Court took the motion


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 under advisement.

                The defendants are charged in count one of the Superseding Indictment [Doc. 88],

 with conspiracy to distribute and to possess with intent to distribute one thousand kilograms or

 more of marijuana and five kilograms or more of cocaine from January 1, 1999, to November 16,

 2004. This is the only count of the indictment involving Defendant Gibson. Defendant List is

 also charged in count six with attempting to possess with intent to distribute over five hundred

 grams of cocaine and, in count seven, with possessing a firearm in connection with a drug

 trafficking crime, both of which are alleged to have occurred on November 20, 2001. The Court

 notes that counts six and seven were formerly counts two and three in the original indictment

 [Doc. 1]. The Court observes that these two counts were also the subject of a prior indictment in

 case number 3:03-CR-60, which was dismissed on December 6, 2004.



                                             ANALYSIS

                Our Constitution requires that “[n]o person shall be held to answer for a capital,

 or otherwise infamous crime, unless on a presentment or indictment by a grand jury[.]” U.S.

 Const. Amend. V. The defendants calls [Doc. 73] for the dismissal of the indictment because the

 portion of the conspiracy alleged to have occurred from January 1, 1999, to November 16, 1999,

 falls outside of the five-year statute of limitations applicable in this case. The government

 argues [Doc. 85] that the five-year period within which a prosecution must commence begins

 with the last overt act in furtherance of the conspiracy. At the February 10 hearing, the

 government maintained that whether a portion of the conspiracy was barred by the statute of

 limitations is a matter for the trial court to decide. It claimed that once it shows a conspiracy at


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 trial, the conspiracy is presumed to continue, and that the defendant may then raise his

 withdrawal from the conspiracy as an affirmative defense. Defendant List rejected the

 government’s argument on the burden, contending that the government must prove that the acts

 constituting the alleged conspiracy come within the terms of the indictment.

                As noted above, all three defendants are charged in count one of the Superseding

 Indictment [Doc. 88], with conspiracy to distribute and to possess with intent to distribute one

 thousand kilograms or more of marijuana and five kilograms or more of cocaine from January 1,

 1999, to November 16, 2004. Additionally, Defendant Pennington is charged in counts two

 through five with engaging in financial transactions with drug proceeds in July, August, October,

 and November 2000. Finally, Defendant List is charged in counts six and seven, both of which

 are alleged to have occurred on November 20, 2001. The original indictment [Doc. 1] in this

 case (3:04-CR-170) was filed on November 16, 2004. The Superseding Indictment [Doc. 88]

 was filed on February 1, 2005.

                The statute of limitations within which a noncapital offense must be prosecuted is

 five years after the commission of the offense. 18 U.S.C. § 3282. As a general rule, “the date of

 the last overt act in furtherance of the conspiracy alleged in the indictment begins the clock for

 purposes of the five-year statute of limitations.” United States v. Smith, 197 F.3d 225, 228 (6th

 Cir. 1999). In other words, only the last overt act in furtherance of the conspiracy must come

 within the five-year period.

                The fact pattern in Smith well illustrates this point. In Smith, the defendants were

 charged with conspiracy to defraud insurance companies from February 1989 to May 8, 1992.

 Id. at 227. The indictment listed a number of staged accidents as overt acts, the last of which


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 occurred on January 17, 1992. Id. Counts two through five of the indictment listed substantive

 mail and wire fraud violations and listed continuing communications with insurance companies

 until May 8, 1992. Id. The defendants argued that the indictment must be dismissed because the

 last staged accident occurred on January 17, 1992, more than five years before the indictment

 was returned on February 4, 1997. The Sixth Circuit held that because the last overt act–the

 communications with insurance companies–occurred on May 8, 1992, the indictment “was filed

 approximately four months within the five-year limitations period.” Id. It concluded that a

 reading of the indictment as a whole gave notice that the conspiracy lasted until May 8, 1992.

 Id. at 228.

                The application of this rule to alleged drug conspiracies can be problematic

 because the government is not required to allege or prove an overt act in furtherance of a drug

 conspiracy. See United States v. Nelson, 922 F.2d 311, 317-18 (6th Cir. 1990). In the present

 case, Defendant Gibson attempts to count back five years from the alleged end of the conspiracy

 to exclude any acts occurring from January 1, 1999, to November 16, 1999. Instead, as Smith

 illustrates, the bulk of the conspiracy can be outside of the five-year-period as long as the last

 overt act is alleged to have occurred within five years of the filing of the indictment. Unlike the

 indictment in Smith, the present conspiracy charge lists no overt acts. On the other hand, like the

 indictment in Smith, the Superseding Indictment taken as a whole lists overt acts occurring

 within the five-year period. Counts two through five allege that in July, August, October, and

 November 2000, Defendant Pennington conducted or attempted to conduct financial

 transactions, which involved the proceeds of illegal drug distribution in violation of the statutes

 governing distribution and conspiracy. In other words, these financial transactions with


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 proceeds from the conspiracy were overt acts in furtherance of the conspiracy, and all four of

 them are alleged to have occurred within five-years of the filing of the Superseding Indictment

 on February 1, 2005.1 Thus, the Court finds that as a matter of law, the Superseding Indictment

 does not violate the statute of limitations in this case.

                 At the February 10, 2005 motion hearing, Defendant List argued that his

 participation in the conspiracy, if any, ended in 1999 and is outside of the five-year period. The

 Court perceives this to be a factual issue that must be determined at trial. The Court has made a

 legal finding that the conspiracy alleged in the indictment comes within the five-year statute of

 limitations. The government must still prove the existence of the conspiracy at trial. Showing

 that a defendant withdrew from a conspiracy is an affirmative defense, for which the Sixth

 Circuit places the burden on the defendant. United States v. Payne, 962 F.2d 1228, 1234 (6th

 Cir. 1992); United States v. Lash, 937 F.2d 1077, 1083 (6th Cir.), cert. denied, 502 U.S. 949

 (1991). Despite this Court’s legal finding that the alleged conspiracy is within the limitations

 period, the defendant may attempt to show as a factual matter at trial that he withdrew from the

 conspiracy more than five years from his indictment on these charges. Accordingly, the Court

 recommends that the District Court deny the Motion to Dismiss [Doc. 73] at the present time.




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          The Court notes that the filing date of a superseding indictment relates back to the filing
 date of the original indictment for purposes of the statute of limitations if the superseding
 indictment does not broaden the charges in the original indictment. Smith, 197 F.2d at 228.
 “Notice to the defendants of the charges, so that they can adequately prepare their defense, is the
 touchstone in determining whether a superseding indictment has broadened the original
 indictment.” Id. at 229. In the present case, because the last overt act alleged in the Superseding
 Indictment–Defendant Pennington’s financial transaction in November 2000–still comes within
 the five-year period from the filing of the Superseding Indictment on February 1, 2005, the Court
 does not need to address whether the Superseding Indictment broadened the original indictment.

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                                         CONCLUSION

                For the reasons set forth herein, the Court RECOMMENDS that Defendant

 Gibson’s Motion to Dismiss [Doc. 73] alleging a violation of the statute of limitations be

 DENIED.2



                                                  Respectfully submitted,


                                                    s/ C. Clifford Shirley, Jr.
                                                  United States Magistrate Judge




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          Any objections to this report and recommendation must be filed with the clerk of the
 court within ten (10) days of receipt of this notice. Such objections must conform to the
 requirements of Rule 72(b), Fed. R. Civ. P. Failure to file objections within the specified time
 waives the right to appeal the district court’s order. See Thomas v. Arn, 474 U.S. 140, 106 S. Ct.
 466 (1985). The district court need not provide de novo review where objections to this report
 and recommendation are frivolous, conclusive or general. Mira v. Marshall, 806 F.2d 636, 637
 (6th Cir. 1986). Only specific objections are reserved for appellate review. Smith v. Detroit
 Federation of Teachers, 829 F.2d 1370, 1373 (6th Cir. 1987).

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